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                            UNITED STATES DISTRICT COURT                                 11/29/2021
                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                             JB



UNITED STATES OF AMERICA,                        CASE NUMBER
                             PLAINTIFF
                                                 CR No.        2:21-cr-00540-SB
                      v.
PAUL O. PARADIS,
                                                            NOTICE TO COURT OF
                             DEFENDANT(S)                 RELATED CRIMINAL CASE

                                                  (PURSUANT TO GENERAL ORDER 21-01)


       Plaintiff United States of America hereby informs the Court that the above-entitled

criminal case may be related to Dennis Bradshaw v. City of Los Angeles et al., Case No. CV 19-

6661-VAP; Paul O. Paradis v. Ellen Pansky et al., Case No. CV 20-9660-VAP; and Antwon

Jones v. City of Los Angeles et al., Case No. CV 20-11502-VAP, all of which:

           x      were previously assigned to the Honorable Virginia A. Phillips;

                  has not been previously assigned.

The above-entitled cases may be related for the following reasons:

          x       the cases arise out of the same conspiracy, common scheme, transaction,
                  series of transactions or events;

           x      the cases involve one or more parties in common and would entail substantial
                  duplication of labor in pretrial, trial or sentencing proceedings if heard by
                  different judges.

       Additional explanation (if any):

Dated: November 24, 2021
                                                      MELISSA MILLS
                                                      Assistant United States Attorney
